            Case 20-11483-KHK                     Doc 14       Filed 07/06/20 Entered 07/06/20 19:51:33                                 Desc Main
                                                              Document      Page 1 of 11
 Fill in this information to identify your case:
 Debtor 1             David                   Michael              Maresca
                      First Name              Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF VIRGINIA

 Case number          20-11483
 (if known)                                                                                                           Check if this is an
                                                                                                                       amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                            04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
      Married
      Not married
2.   During the last 3 years, have you lived anywhere other than where you live now?
      No
      Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
         Debtor 1:                                          Dates Debtor 1       Debtor 2:                                         Dates Debtor 2
                                                            lived there                                                            lived there

                                                                                       Same as Debtor 1                               Same as Debtor 1


         10562 Talisa Ln                                    From   10/2013                                                         From
         Number      Street                                                      Number      Street
                                                            To     08/2018                                                         To


         Manassas                  VA       20112
         City                      State    ZIP Code                             City                      State   ZIP Code


3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)

         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 1
            Case 20-11483-KHK                   Doc 14      Filed 07/06/20 Entered 07/06/20 19:51:33                              Desc Main
                                                           Document      Page 2 of 11
Debtor 1       David Michael Maresca                                                     Case number (if known)       20-11483

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.


          No
          Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income         Gross income           Sources of income         Gross income
                                                  Check all that apply.     (before deductions     Check all that apply.     (before deductions
                                                                            and exclusions                                   and exclusions

From January 1 of the current year until           Wages, commissions,                   $0.00     Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips

                                                   Operating a business                            Operating a business

For the last calendar year:                        Wages, commissions,       $36,000.00 (est.)     Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2019 )
                                  YYYY             Operating a business                            Operating a business

For the calendar year before that:                 Wages, commissions,      $186,000.00 (est.)     Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY             Operating a business                            Operating a business
5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.


          No
          Yes. Fill in the details.


                                                    Debtor 1                                        Debtor 2

                                                  Sources of income           Gross income         Sources of income             Gross income
                                                  Describe below.             from each source     Describe below.               from each source
                                                                              (before deductions                                 (before deductions
                                                                              and exclusions                                     and exclusions

From January 1 of the current year until                                                  $0.00
the date you filed for bankruptcy:



For the last calendar year:                       Gambling Winnings                 $16,657.00
(January 1 to December 31, 2019 )
                                YYYY



For the calendar year before that:                Gambling Winnings                 $23,118.00
(January 1 to December 31, 2018 )
                                YYYY




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 2
             Case 20-11483-KHK                     Doc 14       Filed 07/06/20 Entered 07/06/20 19:51:33                                Desc Main
                                                               Document      Page 3 of 11
Debtor 1         David Michael Maresca                                                        Case number (if known)     20-11483


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

          No.    Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                  "incurred by an individual primarily for a personal, family, or household purpose."

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                  * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                           Also, do not include payments to an attorney for this bankruptcy case.

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.


          No
          Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
          Yes. List all payments that benefited an insider.

 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.


          No
          Yes. Fill in the details.

Case title                                 Nature of the case                          Court or agency                               Status of the case
Smart Business v. Synergy                  Contract                                    Supreme Court of New
                                                                                                                                              Pending
Law, et al.                                                                            Court Name
                                                                                       100 Supreme Court Dr                                    On appeal
                                                                                       Number     Street
                                                                                                                                           
Case number 610073/2019                                                                                                                       Concluded

                                                                                       Mineola                   NY       1501-4815
                                                                                       City                      State    ZIP Code




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
             Case 20-11483-KHK         Doc 14      Filed 07/06/20 Entered 07/06/20 19:51:33                                Desc Main
                                                  Document      Page 4 of 11
Debtor 1      David Michael Maresca                                               Case number (if known)    20-11483
Case title                        Nature of the case                       Court or agency                              Status of the case
OneMain Financial v. Maresca      Collection                               Prince William General Distr. Ct.
                                                                                                                                 Pending
                                                                           Court Name
                                                                           9311 Lee Ave # Dist                                    On appeal
                                                                           Number     Street
                                                                                                                              
Case number GV20006505-00                                                                                                        Concluded

                                                                           Manassas                 VA       20110-5555
                                                                           City                     State    ZIP Code


Case title                        Nature of the case                       Court or agency                              Status of the case
William K Harrington v. Synergy Adversary Proceeding                       US Bankruptcy Court (D. Vermont)
                                                                                                                                 Pending
Law, LLC                                                                   Court Name
                                                                           11 Elmwood Ave Rm 240                                  On appeal
                                                                           Number     Street
                                                                                                                              
Case number 19-01003                                                                                                             Concluded

                                                                           Burlington               VT       05401-4366
                                                                           City                     State    ZIP Code


Case title                        Nature of the case                       Court or agency                              Status of the case
U.S. Trustee v. Synergy Law,      Adversary Proceeding                     U.S. Bankruptcy Court (E.D. Louisiana)
                                                                                                                                 Pending
LLC                                                                        Court Name
                                                                           500 Poydras St Ste B-601                               On appeal
                                                                           Number     Street
                                                                                                                              
Case number 19-01116                                                                                                             Concluded

                                                                           New Orleans              LA       70130-3319
                                                                           City                     State    ZIP Code


Case title                        Nature of the case                       Court or agency                              Status of the case
United States Trustee v.          Adversary Proceeding                     US Bankruptcy Court (S.D. Ga)
                                                                                                                                 Pending
Maresca et al                                                              Court Name
                                                                           600 James Brown Blvd                                   On appeal
                                                                           Number     Street
                                                                                                                              
Case number 18-01013                                                                                                             Concluded

                                                                           Augusta                  GA       30901-2332
                                                                           City                     State    ZIP Code


Case title                        Nature of the case                       Court or agency                              Status of the case
Lashinsky v. Synergy Law LLC      Adversary Proceeding                     US Bankruptcy Court (D. KS)
                                                                                                                                 Pending
                                                                           Court Name
                                                                           401 N Market St                                        On appeal
                                                                           Number     Street
                                                                                                                              
Case number 18-05126                                                                                                             Concluded

                                                                           Wichita                  KS       67202-2089
                                                                           City                     State    ZIP Code


Case title                        Nature of the case                       Court or agency                              Status of the case
US Trustee v. Synergy Atty        Adversary Proceeding                     US Bankruptcy Court (WD Mo)
                                                                                                                                 Pending
Svcs, et al                                                                Court Name
                                                                           400 E 9th St                                           On appeal
                                                                           Number     Street
                                                                                                                              
Case number 18-04210                                                                                                             Concluded

                                                                           Kansas City              MO       64106-2607
                                                                           City                     State    ZIP Code




Official Form 107               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4
             Case 20-11483-KHK            Doc 14      Filed 07/06/20 Entered 07/06/20 19:51:33                                Desc Main
                                                     Document      Page 5 of 11
Debtor 1      David Michael Maresca                                                  Case number (if known)    20-11483
Case title                          Nature of the case                        Court or agency                              Status of the case
William P. Miller v. Synergy Law Adversary Proceeding                         US Bankruptcy Court (MD NC)
                                                                                                                                    Pending
LLC                                                                           Court Name
                                                                              PO Box 26100                                           On appeal
                                                                              Number     Street
                                                                                                                                 
Case number 19-06005                                                                                                                Concluded

                                                                              Greensboro               NC       27402-6100
                                                                              City                     State    ZIP Code


Case title                          Nature of the case                        Court or agency                              Status of the case
William P. Miller v. Synergy Law Adversary Proceeding                         US Bankruptcy Court (MD NC)
                                                                                                                                    Pending
LLC                                                                           Court Name
                                                                              PO Box 26100                                           On appeal
                                                                              Number     Street
                                                                                                                                 
Case number 19-06014                                                                                                                Concluded

                                                                              Greensboro               NC       27402-6100
                                                                              City                     State    ZIP Code


Case title                          Nature of the case                        Court or agency                              Status of the case
Fitzgerald v. Synergy Law, et al    Miscellaneous Proceeding                  US Bankruptcy Court (ED VA)
                                                                                                                                    Pending
                                                                              Court Name
                                                                              600 Granby St Ste 400                                  On appeal
                                                                              Number     Street
                                                                                                                                 
Case number                                                                                                                         Concluded

                                                                              Norfolk                  VA       23510-1915
                                                                              City                     State    ZIP Code


Case title                          Nature of the case                        Court or agency                              Status of the case
McDermott v. Synergy Law et al Adversary Proceeding                           US Bankruptcy Court (SD Ohio)
                                                                                                                                    Pending
                                                                              Court Name
                                                                              221 E 4th St                                           On appeal
                                                                              Number     Street
                                                                                                                                 
Case number 19-01016                                                                                                                Concluded

                                                                              Cincinnati               OH       45202-4124
                                                                              City                     State    ZIP Code


Case title                          Nature of the case                        Court or agency                              Status of the case
McDermott v. Synergy Law,           Adversary Proceeding                      US Bankruptcy Court (ED MI)
                                                                                                                                    Pending
LLC                                                                           Court Name
                                                                              226 W 2nd St                                           On appeal
                                                                              Number     Street
                                                                                                                                 
Case number 19-03058                                                                                                                Concluded

                                                                              Flint                    MI       48502-1203
                                                                              City                     State    ZIP Code


Case title                          Nature of the case                        Court or agency                              Status of the case
Ballard v. Synergy Law, LLC et      Adversary Proceeding                      Bankruptcy Court
                                                                                                                                    Pending
al                                                                            Court Name
                                                                              707 Florida St Ste 119                                 On appeal
                                                                              Number     Street
                                                                                                                                 
Case number                                                                                                                         Concluded

                                                                              Baton Rouge              LA       70801-1713
                                                                              City                     State    ZIP Code




Official Form 107                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 5
             Case 20-11483-KHK                       Doc 14      Filed 07/06/20 Entered 07/06/20 19:51:33                             Desc Main
                                                                Document      Page 6 of 11
Debtor 1         David Michael Maresca                                                       Case number (if known)    20-11483
Case title                                   Nature of the case                       Court or agency                              Status of the case
US Trustee v. Signer                         Adversary Proceeding                     US Bankruptcy Court (MD TN)
                                                                                                                                            Pending
                                                                                      Court Name
                                                                                      701 Broadway Ste 170                                   On appeal
                                                                                      Number     Street
                                                                                                                                         
Case number 19-90057                                                                                                                        Concluded

                                                                                      Nashville                TN       37203-3979
                                                                                      City                     State    ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.


          No. Go to line 11.
          Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

          No
          Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

          No
          Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

          No
          Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


          No
          Yes. Fill in the details for each gift or contribution.

 Part 6:          List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

          No
          Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 6
            Case 20-11483-KHK                     Doc 14     Filed 07/06/20 Entered 07/06/20 19:51:33                               Desc Main
                                                            Document      Page 7 of 11
Debtor 1       David Michael Maresca                                                       Case number (if known)     20-11483

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

          No
          Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment        Amount of
Cricket Debt Counseling                              Credit Counseling                                          or transfer was     payment
Person Who Was Paid                                                                                             made

219 SW Stark Street, Ste. 200                                                                                       06/10/20
Number      Street




Portland                      OR       97204
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                     Description and value of any property transferred          Date payment        Amount of
Cohen, Baldinger & Greenfeld, LLC                                                                               or transfer was     payment
Person Who Was Paid                                                                                             made

2600 Tower Oaks Boulevard                                                                                          06/19/2020           $7,000.00
Number      Street

Suite 103

Rockville                     MD       20852
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

          No
          Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 7
            Case 20-11483-KHK                      Doc 14     Filed 07/06/20 Entered 07/06/20 19:51:33                               Desc Main
                                                             Document      Page 8 of 11
Debtor 1        David Michael Maresca                                                       Case number (if known)     20-11483
18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


          No
          Yes. Fill in the details.

                                                      Description and value of any           Describe any property or payments          Date transfer
Haley Cowell                                          property transferred                   received or debts paid in exchange         was made
Person Who Received Transfer                          2013 Ford Flex                         Transferee paid the                           6/1/2020
12001 Old Vine Blvd Unit 209                                                                 previous lender $7,500
Number      Street                                                                           to settle the debt that
                                                                                             was owed and become
                                                                                             the owner of the
                                                                                             vehicle.
Lewes                           DE      19958-1691
City                            State   ZIP Code

Person's relationship to you Former Girlfriend

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)

          No
          Yes. Fill in the details.

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

          No
          Yes. Fill in the details.

                                                      Last 4 digits of account     Type of account or           Date account         Last balance
                                                      number                       instrument                   was closed,          before closing
                                                                                                                sold, moved,         or transfer
                                                                                                                or transferred
Capital One Bank
Name of Financial Institution
                                                      XXXX- 3       8    8   3        Checking                    08/28/2019          ($3,802.20)
8120 Sudley Rd                                                                         Savings
Number      Street                                                                 
                                                                                      Money market
                                                                                      Brokerage
                                                                                      Other
Manassas                        VA      20109-3402
City                            State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 8
            Case 20-11483-KHK                 Doc 14      Filed 07/06/20 Entered 07/06/20 19:51:33                         Desc Main
                                                         Document      Page 9 of 11
Debtor 1       David Michael Maresca                                                   Case number (if known)   20-11483
21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

          No
          Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     No
     Yes. Fill in the details.
 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

          No
          Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

 Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
  hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
  including statutes or regulations controlling the cleanup of these substances, wastes, or material.
 Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
  utilize it or used to own, operate, or utilize it, including disposal sites.

 Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
  substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

          No
          Yes. Fill in the details.
25. Have you notified any governmental unit of any release of hazardous material?
     No
     Yes. Fill in the details.
26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

          No
          Yes. Fill in the details.




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 9
            Case 20-11483-KHK                    Doc 14       Filed 07/06/20 Entered 07/06/20 19:51:33                                       Desc Main
                                                             Document     Page 10 of 11
Debtor 1       David Michael Maresca                                                           Case number (if known)         20-11483

  Part 11:      Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.

                                                 Describe the nature of the business                 Employer Identification number
Synergy Consulting                               Consulting                                          Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN:           –
10562 Talisa Ln                                  Name of accountant or bookkeeper
Number     Street
                                                 David Maresca                                       Dates business existed

                                                                                                     From     08/20/2015          To 11/30/2018
Manassas                 VA      20112-5820
City                     State   ZIP Code

                                                 Describe the nature of the business                 Employer Identification number
Synergy Attorney Services, LLC                   Legal Services                                      Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN:           –
10562 Talisa Ln                                  Name of accountant or bookkeeper
Number     Street
                                                 David Maresca                                       Dates business existed

                                                                                                     From      04/2015            To   10/2016
Manassas                 VA      20112-5820
City                     State   ZIP Code

                                                 Describe the nature of the business                 Employer Identification number
Synergy Law, LLC                                 Legal Services                                      Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN: 8     1 – 4         1    8     6    5   2     3
1101 Connecticut Ave NW Ste 450                  Name of accountant or bookkeeper
Number     Street
                                                 David Maresca                                       Dates business existed

                                                                                                     From      10/2016            To   7/2019
Washington               DC      20036-4359
City                     State   ZIP Code

                                                 Describe the nature of the business                 Employer Identification number
Themis Law PLLC                                  Legal Services                                      Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN: 8     4 – 2         1    7     4    6   4     2
1701 Pennsylvania Ave NW Ste 200                 Name of accountant or bookkeeper
Number     Street
                                                 David Maresca                                       Dates business existed

                                                                                                     From      06/2019            To   present
Washington               DC      20006-5805
City                     State   ZIP Code




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 10
               Case 20-11483-KHK                   Doc 14     Filed 07/06/20 Entered 07/06/20 19:51:33                             Desc Main
                                                             Document     Page 11 of 11
Debtor 1          David Michael Maresca                                                     Case number (if known)    20-11483
                                                  Describe the nature of the business            Employer Identification number
Synergy Catering LLC                              Food services                                  Do not include Social Security number or ITIN.
Business Name
                                                                                                 EIN:          –
13159 Lakehill Dr                                 Name of accountant or bookkeeper
Number        Street
                                                  David Maresca                                  Dates business existed

                                                                                                 From     09/2019         To    present
Nokesville                   VA      20181-3329
City                         State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.

  Part 12:          Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




X /s/ David Michael Maresca                                  X
       David Michael Maresca, Debtor 1                           Signature of Debtor 2

       Date      07/06/2020                                      Date


Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      No
      Yes


Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

      No
      Yes. Name of person                                                                        Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                  Declaration, and Signature (Official Form 119).




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 11
